                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

    UNITED STATES OF AMERICA

               v.
                                            Crim. No. 1:18-cr-83 (TSE)
    PAUL J. MANAFORT, JR.,


               Defendant.


      GOVERNMENT’S OPPOSITION TO PAUL J. MANAFORT, JR.’S MOTION TO
       CONTINUE THE TRIAL UNTIL AFTER THE WASHINGTON, D.C. TRIAL

        The United States of America, by and through Special Counsel Robert S. Mueller, III,

submits this opposition to defendant’s motion for a continuance of the trial until a “time convenient

to this Court and following the trial currently scheduled in the case against Mr. Manafort pending

in the District of Columbia (the “D.C. Case”).” Dkt. 110 at 1. 1

        At the initial arraignment on this case on March 2, 2018, the Court scheduled a trial date

of July 10, 2018. That date, although outside the Speedy Trial Act 70-day time-frame, was selected

after the Court heard from defense counsel regarding the need for additional time to prepare for

trial. Dkt. 28. That trial date was later adjourned for two more weeks, from July 10 to July 25.

Manafort now seeks to further delay the trial, not for a week or two, but for months.

        The ostensible ground for such a lengthy adjournment is that Manafort was remanded in

the D.C. Case based on his illegal conduct in tampering with witnesses, and that, as a result of the

location and circumstances of his confinement, he cannot adequately prepare between June 15 and




1
  Unless otherwise indicated, record references are to the docket entries (“Dkt.”) in United States
v. Manafort, No. 18-cr-83-TSE (E.D. Va.).
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the July 25 trial date. That ground does not warrant the expansive relief sought, for the following

reasons.

       First, Manafort had a remedy if he believed that either the location of his incarceration or

the conditions under which he could communicate with counsel were impinging on his trial

preparation. He chose not to seek such relief: he has never brought to the attention of this Court,

the Court overseeing the D.C. Case, the Bureau of Prisons, or the prosecution any claim that he

seeks to be housed either closer to Alexandria or Washington, D.C., or that he needs different

accommodations in order to prepare for trial. 2 Indeed, on June 21, 2018, the Honorable Amy

Berman Jackson issued an Order, sua sponte, not at the request of the defense, specifying that “the

defendant be afforded reasonable opportunity for private consultation with counsel.” Minute

Order, United States v. Manafort, No. 17-cr-201-1 (ABJ) (D.D.C. June 21, 2018). Neither before

nor after that Order has the defense taken any issue with his access to counsel or to material to

prepare his defense. The government as early as June 15 (the very day Manafort was remanded)

and as recently as Friday July 6, 2018, has offered to assist the defense if they had any concerns

regarding where Manafort was detained or his conditions. However, the defense has not brought

a single issue to the government’s attention, until it received this motion seeking to use his alleged

prison conditions as a basis for an adjournment.

       In short, Manafort should not be permitted to obtain a two- or three-month continuance

based on circumstances he has never challenged or sought relief from, in spite of repeated

invitations to do so. Notably, in his submission yesterday, Manafort affirmatively states that he is




2
  Further, even as to the remand itself, Manafort did not file a notice of appeal of the remand
decision until June 25, ten days after it was entered, and waited 13 days before filing a motion for
release pending appeal.
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not seeking to change the location in which he is incarcerated, yet he has not withdrawn his motion

for a continuance largely predicated on an alleged inability to prepare with counsel. See Dkt. 110.

        Second, although Manafort’s bail status has recently changed, that fact could not have

affected his trial preparation with respect to the government discovery and any defense

investigation prior to his remand on June 15. Nor are the conditions of his incarceration since June

15, which he has not challenged, more restrictive than for other inmates (and in various ways less

restrictive, as noted below), or unduly interfering with his ability to prepare for trial. It is incorrect

that Manafort has “very limited access to his attorneys and the records.” Dkt. 110 at 6. In fact,

Manafort has reported, in a taped prison call, that he has reviewed all discovery: Just days before

filing his motion for a continuance, Manafort told the person on the call that, “I’ve gone through

all the discovery now.” And he has had extensive access to his counsel and materials: On July 4,

2018, Manafort remarked in a taped prison call that he is able to visit with his lawyers every day,

and that he has “all my files like I would at home.”

        Specifically, contrary to Manafort’s assertions about his jail conditions, Manafort is in a

private unit in which he can review materials and prepare for trial. 3 Moreover, he is not confined

to a cell. Between the hours of 8:30am to 10:00pm, Manafort has access to a separate workroom

at the jail to meet with his attorneys and legal team. Visitor logs from the prison indicate that

each week Manafort has had multiple visits with his legal team.




3
  Among the unique privileges Manafort enjoys at the jail are a private, self-contained living unit,
which is larger than other inmates’ units, his own bathroom and shower facility, his own personal
telephone, and his own workspace to prepare for trial. Manafort is also not required to wear a
prison uniform. On the monitored prison phone calls, Manafort has mentioned that he is being
treated like a “VIP.”
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       Manafort also has a personal telephone in his unit, which he can use over twelve hours a

day to speak with his attorneys. 4 According to prison telephone logs, in the last three weeks

Manafort has had over 100 phone calls with his attorneys, and another 200 calls with other

persons. Those telephone logs indicate Manafort has spoken to his attorneys every day, and often

multiple times a day. Manafort also possesses a personal laptop that he is permitted to use in his

unit to review materials and prepare for trial. The jail has made extra accommodations for

Manafort’s use of the laptop, including providing him an extension cord to ensure the laptop can

be used in his unit and not just in the separate workroom. 5

       Third, since June 15, 2018, the government has produced a manageable volume of new

documents. As we alerted the defense and Judge Berman Jackson when the issue arose in the D.C.

Case, because the government investigation is an ongoing one, inevitably additional documents

will be produced to Manafort on a rolling basis as they come in. D.C. Case Bond Hr’g Tr., 6:9-

11. Some documents need to first be reviewed by a taint team, to screen for privilege, such as

attorney-client and marital privileges, a process that can be time consuming. Further, Manafort

has a team of at least four partners on this matter; he is neither pro se nor represented by a single

attorney with many other responsibilities. Until receipt of this motion, the defense has not

complained at any time after the remand decision either to the Courts or to the government about



4
  The defense representation that telephonic communication “is restricted to ten (10) minutes per
call” is incorrect. Dkt. 110 at 3. Each phone call session is limited to fifteen minutes, but there is
no restriction on the number of phone call sessions, meaning that Manafort immediately can
reconnect with his attorneys whenever the fifteen minutes expires. For example, according to
telephone logs, Manafort has had successive phone call sessions with his attorneys that have lasted
over forty minutes. The attorney calls are not monitored.
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  Although the jail does not allow prisoners to send or receive emails, Manafort appears to have
developed a workaround. Manafort has revealed on the monitored phone calls that in order to
exchange emails, he reads and composes emails on a second laptop that is shuttled in and out of
the facility by his team. When the team takes the laptop from the jail, it reconnects to the internet
and Manafort’s emails are transmitted.
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the ongoing discovery (and had not raised any issues about such discovery since approximately

February).

       All that being said, the total number of documents produced since June 15 is approximately

32,544, as the attached chart of government productions demonstrates. Ex. A. The vast bulk of

that (20,207) are documents from a bookkeeping service (NKSFB) that works for Manafort, who

has had access to this material long before the government did. Indeed, over a year ago, the

government was negotiating with Manafort’s defense counsel to obtain the non-privileged NKSFB

documents, so Manafort cannot now plausibly claim he needs more time to review these

documents because they were only recently made available to him. As for the documents on the

Gates MacBook, there are 8,290 documents; review of that material can be accomplished well in

advance of the July 25 trial date and does not warrant a months-long adjournment.

       Fourth, one would have thought that if the alleged inability to prepare adequately was

animating the motion herein, Manafort would have sought to adjourn both trials, here and the D.C.

Case, not just seek to reverse the order of the trials (relief he sought but was denied at the time of

his arraignment). Arraignment Tr., 15:25-16:5. After all, given the overlap in subject matter of

the two trials, his preparation presumably would be impacted in both cases, not just one. And it is

the D.C. Case that has been recently superseded to add two additional charges related to witness

tampering. Manafort can hardly now complain about the order of the trials: he was on notice from

the Honorable Amy Berman Jackson, when he elected last winter not to have the proposed tax and

bank fraud charges all brought in the D.C. Case, that his decision would likely result in his going

to trial in Virginia first. D.C. Case Status Hr’g Tr. (Jan. 16, 2018). That other reasons may account

for this application is strongly suggested by a prison call in which Manafort discusses going to

trial first in the D.C. Case and contends to the listener (who did not believe the D.C. venue was



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favorable) that the listener should “think about how it’ll play elsewhere….There is a strategy to it,

even in failure, but there’s a hope in it.” Phone Call of Manafort (June 20, 2018), at 4:02-4:39.

       Finally, Manafort argues that an adjournment in the Eastern District of Virginia trial is

needed to allow “passions to cool.” Dkt. 110 at 5. He cites no evidence that there are jury pool

passions about Manafort that need to cool or that could not be weeded out in the course of thorough

jury selection. See Skilling v. United States, 561 U.S. 358, 388 (2010) (lengthy voir dire, including

questionnaire, secured impartial jurors.) And even if he had produced evidence of such passions,

he has cited no evidence that such passions would cool in the ensuing two months, around election

season. Nor does he explain why the same alleged passions do not exist in the D.C. Case—a venue

that presumably Manafort views as akin to the Alexandria venue he seeks to avoid for the reasons

articulated in his change of venue motion, i.e., who a proposed juror voted for and exposure to

“inside the beltway” media. See Dkt. 107 at 6-7. Yet Manafort has not made a motion to change

venue or adjourn the trial in the D.C. Case, where the deadline for such motions has passed.



                                         CONCLUSION

       For these reasons, the government opposes Manafort’s motion for a continuance.




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                                       Respectfully submitted,

                                       ROBERT S. MUELLER, III
                                       Special Counsel

Dated: July 11, 2018                   /s/ Andrew Weissmann
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                                   7
                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of July, 2018, I will cause to be filed electronically the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the following:


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                                                  8
